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             IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                 DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )
                              )         Crim. No. 15-32
                              )
v.                            )
                              )
JAMILA FELIX,                 )
                              )
               Defendant.     )
                              )
_____________________________ )

ATTORNEYS:

Ronald Sharpe, United States Attorney
Delia L. Smith, AUSA
United States Attorney’s Office
St. Thomas, VI
     For the United States of America,

George H. Hodge, Jr.
St. Thomas, USVI
     For defendant Jamila Felix.


                                  ORDER

      On May 16, 2016, Jamila Felix was adjudged guilty of money

laundering in violation of 18 U.S.C. § 1956. The Court currently

does not find by “clear and convincing evidence that [she] is

not likely to flee or pose a danger to any other person or the

community.” 18 U.S.C. § 3143(a)(2)(B).

      The premises considered, it is hereby
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      ORDERED that Jamila Felix is hereby REMANDED to the custody

of the United States Marshals Service effective September 28,

2016 at 9:00 AM; it is further

      ORDERED that at 9:00 AM on September 28, 2016, Jamila Felix

shall report to the St. Thomas Office of the United States

Marshals Service, District of the Virgin Islands located at the

Ron deLugo Federal Building, 5500 Veterans Drive, St. Thomas;

and it is further

      ORDERED that the Chief Probation Officer for the District

of the Virgin Islands, or his designee, shall notify Jamila

Felix in person on September 27, 2016, of the existence and

contents of this order.




                                                    S\
                                                         CURTIS V. GÓMEZ
                                                         District Judge
